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                 EXHIBIT B-069
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                                                                         FILED IN OFFICE
                IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA                                A!      23
IN RE: 2 MAY 2022 SPECIAL                    I                          DEPUTY(Z'L_EI‘K.V*;:lJi—I‘r_ka;10i=2COURT
PURPOSE GRAND JURY                                                  ‘
                                                                               £‘4*“0""“2’i‘-=if“ “A


                                                  CASE NO. 2022-EX-000024




  REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
             RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in Courtroom
8-D/Judge Robert McBurney in order to Xrecord images and/ or Esound
during all or portions of the proceedings in the above captioned case / calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): Xcomputer of any size, including a
tablet, a notebook, and a laptop; Esmart phone, a cell phone or other wireless
phone; D camera and other audio or video recording devices         E
                                                                   any similar
devices NO TV CAMERAS; WSB-TV IS POOL FEED.
         —




The proceedings that the undersigned desires to record commence on (date and
time) Auggst 25, 2022     -
                          10:30am. Subject to direction from the court regarding
possible pooled coverage, the undersigned wishes to use this device in the
courtroom on (date and time) Auggst 25, 2022 — 10:30am.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or indiuidual)WXIA-TV.




For quesa'ons or concerns email Qiﬂultoncounygagou
Rule 22 (Rev. 04/ 01/ 18)
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The undersigned hereby certiﬁes that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

WXIA-TV
[News AgencﬂMedia OutletlLaw Firmllndividual Representative]

newﬂl lalive.com
[Email Address)

404-881-3600
[Phone Number]

ORDER APPROVING/DISAPPROVING REQUEST:
              The request is:
                     XApproved
                     DDisapproved
              The requesting agency:
                     DShall be pool for its media
                     IShan not be poo1 for its media
Under no circumstances is this rule to be construed as permission for ﬁlming,
recording, or photography in any other area of the courthouse or courtroom other
than that for. which permission is given. The undersigned understands and
acknowledges that a violation of Rule 22 and any guidelines issued by the court
may be grounds for removal or exclusion from the courtroom and a willful
violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 23rd day of August 2022.



                        W- a WM
                    Judge 3f         perior Court of Fulton Count
                                Atlanta Judicial Circuit



For questions or concerns email io    ltoncoun   a. ov
Rule 22 (Rev. 04/ 01/ 1 8)
